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                            IN THE COURT OF COMMON PLEAS
                                 FOR LICKING COUNTY

JOHN DOE,                                      *
                                               *       JUDGE:
                                               *
         Plaintiff,                            *
                                               *
         v.                                    *       CIVIL ACTION NO.
                                               *
DENISON UNIVERSITY                             *       JURY DEMAND
c/o/ James Cooper, S.A.                        *       ENDORSED HEREIN
33 West Main Street                            *
Newark, Ohio 43055                             *       Interrogatories, Request for
                                               *       Production of Documents &
         and                                   *       Request for Admissions are
                                               *       Attached Hereto
JANE DOE                                       *
                                               *
         and                                   *
                                               *
MARY-KATHLEEN CLIFFORD                         *
1134 Broadway Avenue                           *
Columbus, Ohio 43212                           *       FIRST AMENDED COMPLAINT
                                               *
         Defendants                            *


                                   NATURE OF THE ACTION

    1.   Having been irreparably harmed by false allegations of sexual misconduct, (“John Doe”),1

         by and through his attorneys, Eric Rosenberg and Ellen Foell, bring this Complaint against

         (a) Jane Doe (“Jane Doe”); (b) Denison University (“Denison”); and (c) Mary-Kathleen

         Clifford (“Clifford”).    Plaintiff’s causes of action include: defamation, intentional

         infliction of emotional distress, negligence, breach of contract, quasi contract, promissory

         estoppel, unjust enrichment, and violations of federal law for which this Court has

         jurisdiction.


1
 See generally, John Doe’s Motion To Allow the Parties to Use Pseudonyms (containing John Doe’s request
for using pseudonyms in this proceeding).

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 2.    For example, Denison violated Title IX by creating a gender biased, hostile environment

       against males, like John Doe, based in part on Denison’s pattern and practice of disciplining

       male students who accept physical contact initiated by female students. Denison also

       violated John Doe’s rights under The Violence Against Women Act (“VAWA”) by

       prohibiting John Doe from having an attorney present during Denison’s investigation of

       Jane Doe’s false accusation that John Doe violated Denison’s policies by accepting

       physical contact initiated by Jane Doe when she was not incapacitated by alcohol or drugs.

 3.    In addition, Denison violated Denison’s 2014-15 Code of Student Conduct (“CSC”) in at

       least three ways: (1) disciplining John Doe in violation of various provision of the CSC

       and other Denison policies related to student conduct (“Denison Policies”); (2) failing to

       apply Denison Policies in a gender neutral fashion; (3) sanctioning the consumption of

       alcohol by underage students like Jane Doe despite provisions in Denison Policies which

       prohibit this consumption.

                   THE HISTORY BEHIND DENISON’S UNLAWFUL
                           DISCIPLINE OF JOHN DOE

4.     On or about March 7, 2014, Denison became ensnared in an investigation by the United

       States Department of Education’s (“DOE”) Office of Civil Rights (“OCR”). See e.g.,

       Exhibit 1, (containing DOE’s December 10, 2015 response to John Doe’s FOIA request).

       Upon information and belief, this investigation occurred because female student(s) alleged

       Denison violated Title IX by insufficiently disciplining male students allege to have

       engaged in sexual misconduct. Id. Denison is one of many institutions subject to these

       types of OCR investigations. See e.g., Nick Anderson, Tally of Federal Probes of Colleges

       on Sexual Violence Grows 50 Percent Since May, WASH POST, Oct. 19. 2014,

       https://www.washingtonpost.com/local/education/tally-of-federal-probes-of-colleges-on-


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        sexual-violence-grows-50-percent-since-may/2014/10/19/b253f02e-54aa-11e4-809b-

        8cc0a295c773_story.html; http://projects.chronicle.com/titleix/cases (containing database

        of information related DOE’s Title IX investigations of colleges and universities since

        2011).

     5. OCR’s investigations primarily involve females alleging the universities they attend

        condone sexual harassment and/or sexual violence by males. These complaints by female

        students have triggered OCR investigations of academic institutions which include, but are

        not limited to: (i) the University of Virginia; (ii) Southern Methodist University; (iii) Yale

        University; (iv) George Washington University; (v) Tufts University;            and (vi) the

        University of Montana in Missoula. See generally, http://www2.ed.gov/documents/press-

        releases/university-virginia-letter.pdf; (containing OCR’s letter to the University of

        Virginia regarding OCR’s Title IX investigation);http://www2.ed.gov/documents/press-

        releases/southern-methodist-university-letter.pdf; containing OCR’s letter to Southern

        Methodist       University      regarding      OCR’s        Title     IX      investigation);

        http://www2.ed.gov/about/offices/list/ocr/docs/investigations/01112027-a.html

        (containing OCR’s letter to Yale University regarding OCR’s Title IX investigation).

        http://www2.ed.gov/about/offices/list/ocr/docs/investigations/11112079-a.pdf (containing

        OCR’s letter to George Washington University regarding OCR’s Title IX investigation).

        http://www2.ed.gov/about/offices/list/ocr/docs/investigations/01102089-a.html

        (containing OCR’s letter to Tufts University regarding OCR’s Title IX investigation).

6.      Many academics and organizations have raised alarms that DOE/OCR’s worthwhile goal

        of protecting female college students from sexual misconduct has evolved into an unlawful

        example of federal governmental overreach which violates the rights of male students who



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       never engaged in misconduct. See e.g., Open Letter From Sixteen Members of Penn Law

       School   Faculty    (Feb.   17.   2014),   http://www.washingtonpost.com/news/volokh-

       conspiracy/wp/2015/02/19/open-letter-from-16-penn-law-school-professors-about-title-

       ix-and-sexual-assault-complaints/ (“[a]lthough we appreciate the efforts of Penn and other

       universities to implement fair procedures, particularly in light of the financial sanctions

       threatened by OCR, we believe that OCU’s approach exerts improper pressure upon

       universities to adopt procedures that do not afford fundamental fairness.”); Barclay Sutton

       Hendrix, A Feather On One Side, A Brick On The Other: Tilting The Scale Against Males

       Accused of Sexual Assault In Campus Disciplinary Proceedings, 47 Ga. L. Rev. 591,

       (2013); Stephen Henrick, A Hostile Environment for Student Defendants: Title IX and

       Sexual Assault on College Campuses, 40 N. Ky. L. Rev. 49 (2013); Rethink Harvard’s

       Sexual Harassment Policy, LETTER TO EDITOR, BOSTON GLOBE, Oct. 15, 2015,

       http://www.bostonglobe.com/opinion/2014/10/14/rethink-harvard-sexual-harassment-

       policy/HFDDiZN7nU2UwuUuWMnqbM/story.html;                Janet   Halley,    Trading    the

       Megaphone for the Gravel Gavel in Title IX Enforcement, HARV. L. REV. F. 103, 103-

       17, (2014); Samantha Harris, Campus Judiciaries on Trial: An Update From the Court,

       HERITAGE FOUNDATION, Oct. 6. 2015; http://report.heritage.org/Im165; Janet

       Napolitano, “Only Yes Means Yes”: An Essay on University Policies Regarding Sexual

       Violence and Sexual Assault, Yale Law and Policy Review Volume 33; Issue 2 (2015);

       Robin Wilson, Presumed Guilty, CHRONICLE OF HIGHER EDUCATION (Sept. 3.

       2014)    http://chronicle.com/article/Presumed-Guilty/148529/?cid=a&utm_medium=en;

       Reggie D. Yager, What’s Missing From Sexual Assault Prevention and Response, (April

       22, 2015) http: ssrn.com/abstract=2697788.



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    7.   As detailed in many of the publications cited in ¶6, OCR’s investigations put millions of

         dollars in federal student aid at risk. This is because DOE/OCR can impose civil penalties

         and/or suspend institutions from participating in federal student financial aid programs if

         DOE/OCR finds a university, such as Denison, did not do enough to discipline males

         alleged to have engaged in sexual misconduct with female students.

    8.   For Denison, the withdrawal of federal funding would be catastrophic in part because, upon

         information and belief,2 Denison’s undergraduate students received $2.3 million in Pell

         Grants and $6.8 million in Federal Student Loans in 2015. See generally

         http://nces.ed.gov/collegenavigator/?id=202523#expenses.

    9.   As detailed in some of the publications cited in ¶6, OCR investigations put immediate and

         tremendous pressure upon Universities such as Denison to severely discipline male

         students alleged to have engaged in sexual misconduct regardless of their innocence.

    10. Examples of this pressure includes, but is not limited to, DOE/OCR complaints filed by

         Denison students in February and/or March of 2015. See generally, Exhibit 1 (containing

         DOE/OCR’s FOIA response which reference at least two different DOE/OCR case

         numbers for complaints filed against Denison).           Upon information and belief, female

         Denison students filed these complaints which alleged Denison subjected females to a

         sexually hostile environment by failing to severely discipline male students alleged to have

         engaged in sexual misconduct. See e.g., Id., p.4 (notifying Denison of DOE/OCR’s




2
  It should be noted, the “information and belief” allegations in the Complaint are based on at least the
following two factors: (1) the evidence referenced and/or exhibits attached to this Complaint which provide
a plausible basis for Plaintiff’s “information and belief” allegations; and (2) John Doe believes Defendants
are in possession and/or control of additional evidence supporting Plaintiff’s “information and belief”
allegations and John Doe believes he will obtain this evidence in discovery.


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       investigation regarding a Feb. 19, 2015 complaint filed by a “female student” who alleged

       a “sexually hostile environment” existed at Denison).

   11. Therefore, upon information and belief, pressure from governmental agencies such as

       OCR/DOE and/or internal forces at Denison, caused Denison to take unlawful and gender

       biased disciplinary actions against John Doe. Evidence of these unlawful and/or gender

       biased actions include, but is not limited to, Denison’s pattern and practice of taking

       unlawful disciplinary actions against male students who were falsely accused of sexual

       misconduct. See generally, Exhibits 2-6 (containing court filings of male Denison students

       who alleged Denison unlawfully disciplined them for engaging in sexual misconduct which

       they did not commit).

   12. Based on the information detailed in this Complaint (and) upon information and belief,

       Defendants’ unlawful discipline of John Doe occurred in part because of Defendants’

       archaic assumptions that female students do not sexually assault their fellow male

       students.

   13. Evidence of governmental pressure exerted upon Denison includes The White House’s

       April 2014 report entitled “Not Alone” which threatens the elimination of federal funds by

       stating:

          “If OCR finds a Title IX violation, the school risks losing federal funds. In these
          cases, OCR must first seek to voluntarily resolve the non-compliance before
          terminating funds. Through this voluntary resolution process, OCR has entered
          into agreements that require schools to take a number of comprehensive steps to
          remedy         the          problem          on           their        campuses.”
          www.whitehouse.gov/sites/default/files/docs/report_0.pdf

  14. The White House also noted that:
          “The Justice Department (DOJ) . . . shares authority with OCR for enforcing
          Title IX, and may initiate an investigation or compliance review of schools
          receiving DOJ financial assistance. If schools are found to violate Title IX and

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          a voluntary resolution cannot be reached, DOJ can . . . seek to terminate DOJ
          funds.” www.whitehouse.gov/sites/default/files/docs/report_0.pdf

   15. In response to pressure from the DOE, the DOJ, and/or the White House, educational

       institutions like Denison are being counseled to severely limit procedural protections

       afforded male students like John Doe in sexual misconduct cases. Two groups providing

       such counseling are: (1) the Association of Title IX Administrators’ (“ATIXA”); and (2)

       the National Center for Higher Education Risk Management (“NCHERM”)

   16. Denison relies on both ATIXA and NCHERM in addressing allegations of sexual

       misconduct. See e.g., Exhibit 7 (containing May, 7, 2015 email from Title IX Coordinator,

       Steve Gauger, to John Doe detailing Denison’s adoption of ATIXA’s definition of

       incapacitation); Infra, ¶36 (discussing Denison’s hiring of a NCHERM contractor to

       investigate Jane Doe’s allegations against John Doe).

   17. Unfortunately, the facts detailed in this Complaint prove Denison embraces NCHERM’s

       gender bias views against male students alleged to have engaged in sexual misconduct.

       NCHERM’s gender biased views include, but are not limited to, the following:

             a) NCHERM uses the feminine pronouns when referring to the victim of
                alleged sexual misconduct., See, Exhibit 41 (containing pages from
                NCHERM website);

             b) NCHERM uses masculine pronouns when referring to the student
                accused of perpetrating allegations of sexual misconduct, referring to
                them as “the usual suspects”. Id.

             c) NCHERM alleges the burden of proof regarding whether a female
                student consented to sexual contact should be placed on the male student
                because: “[t]he core of consent is the right of the victim to be unmolested
                until she gives clear permission for sexual activity to take place-what I
                call sexual sovereignty.” Id.,




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              d) NCHERM’s bias in favor of female victims is reflected in an Open Letter from
                 the NCHERM Group which states: “. . . our experience suggests victims tell
                 the truth.” See, Exhibit 40 containing NCHERM’s Open Letter)

   18. Similarly, the facts detailed in this Complaint prove Denison’s Policies explicitly and/or

       implicitly incorporate and/or embraceATIXA and NCHERM’s gender bias and goal of

       limiting the procedural protections afforded male students like John Doe in sexual

       misconduct cases. ATIXA and NCHERM’s goal regarding these limitations is detailed in

       part in their “2014 Whitepaper” entitled Equity Is Such A Lonely Word.

       www.ncherm.org/.../2012/01/2014-Whitepaper-FINAL.pdf. This Whitepaper states:

          “victims have historically been accorded 3/5 of the rights of an accused
          individual (or less), and victims are typically women, equity may require
          institutions to recalibrate the pendulum to right the historical imbalance. An
          equitable process on many campuses will force a victim focus, but only as a
          casualty of history.” (emphasis added).

   19. ATIXA’s Whitepaper also details OCR’s demands that colleges limit the due process rights

       of males accused of sexual misconduct by stating: (a) “[a] hearing became a panel . . . [t]he

       panel afforded presumptions of innocence, rights to attorneys, rights to remain silent.

       Rights, rights, rights. But, we forgot about victims along the way.” and (b) OCR’s 2011

       Dear Colleague Letter “indicated that we must deconstruct part of the due process castle .

       . . [and ensure the] complainants should be inconvenienced only as far as absolutely

       required to remedy the discrimination.” Id., pages 5, 13-14.

   20. Here, Denison’s Policies contained in Exhibits 8-12 prove Denison implemented

       NCHERM and ATIXA’s call to “deconstruct” the rights afforded male students accused of

       sexual misconduct by detailing Denison’s pattern and practice of eliminating due process

       rights previously provided these students.




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   21. Moreover, in the midst of OCR’s investigation of Denison, Denison Vice President Dr.

       Laurel Kennedy (“Kennedy”) published the April 30, 2014 open letter in Exhibit 13 which

       acknowledged Denison adopted ATIXA’s call for gender biased prosecutions of male

       students in response to OCR pressure. For example, Kennedy’s letter stated the:

           “University is dedicated to supporting victims of violence and holding students
          accountable when they violate our expectations . . . [o]ver the last four years, we
          have assessed our efforts on a continuing basis against the backdrop of quickly
          evolving federal compliance expectations. We are proud to have revised policies
          when we discerned ways of improving, including a significant change last
          summer in our investigation model and in the ways we support students affected
          by reported incidents.”

   22. In addition, on or about January 19, 2015, just two months prior to Jane Doe’s false

       accusations against John Doe, Denison’s newly inaugurated President Adam Weinberg

       (“Weinberg”) wrote Exhibit 14 which contains an open letter to the Denison community

       stating:

          “Title IX and sexual assault issues will be high priorities this semester. Denison
          has      joined     an     organization     called     Culture      of     Respect
          (www.cultureofrespect.org), which has developed an excellent assessment tool
          and a “blueprint” for colleges to expand their prevention programs. We have
          asked CSMART to take the lead on using the blueprint at Denison. I would
          invite interested students to join CSMART.” (emphasis added).


       Denison’s Policies explicitly and/or implicitly incorporate and/or embrace CSMART

       and/or the Culture of Respect’s policies, procedures, and/or guidance. But, as detailed

       below, Denison repeatedly violated the “rights” due John Doe under the “blueprint”

       articulated by the Culture of Respect’s website.

   23. Moreover, Denison’s decision to apply the “blueprint” articulated by the Culture of Respect

       proves Denison’s intent to prosecute male students in a gender biased fashion. For, the




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       Culture of Respect presumes Denison’s female students will be the victims of sexual

       misconduct perpetrated by their male counterparts in part because:

          a) The Culture of Respect suggests colleges should implement “Sex Signals”
          skits which communicate to male students how “the male actor used physical
          and      psychological     coercion   to     rape”  the   female     actor.
          http://cultureofrespect.org/program/sex-signals/

           b) The Culture of Respect contains a link entitled “A Call to Men” which
          identifies males as the perpetrators of sexual violence against “women and
          girls.” http://cultureofrespect.org/program/a-call-to-men .

          c) The Culture of Respect maintains 99% of rapists are men and 60% of these
          men are Caucasian. http://cultureofrespect.org/the-issue/statistics-at-a-glance/

          d) The Culture of Respect states: “the vast majority of sexual assault victims
          are women.” Id.

   24. Denison’s campaign to portray a large portion of their male students as sexual predators

       extends far beyond its embrace of the Culture of Respect’s gender biased language. It

       extends to embracing commonly used, albeit incorrect, statistics as to the number of college

       women purportedly raped. For example, Denison’s program coordinator for the Campus

       Leadership and Involvement Center (“CLIC”) Allie Collini’s blog states: “One out of four

       women are sexually assaulted in college . . . I do not think that we as a community feel

       comfortable     talking      about    sexual      assault    openly      and        honestly.”

       https://blogs.denison.edu/kaleidoscope/allie-colina-de-vivero/

 25.   Similarly, Denison quotes the Rape Crisis Center’s statement that: “1 out of 6 American

       women     has   been   the   victim   of   attempted   or   completed    rape   .     .   .   .”

       https://blogs.denison.edu/sexualpolitics/2014/10/27/is-this-real-life-how-private-practice-

       helps-us-work-through-contemporary-ideologies. And, Denison’s Center for Women and

       Gender Action’s publication alleges one in five female college students will be sexually


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       assaulted. Exhibit 15. See also, Exhibit 16 (containing Denison economics professor Dr.

       Fadhel Kaboub’s retweet of alleged rape statistics on college campuses).

 26.   Denison’s campaign to portray a large portion of their male students as sexual predators is

       echoed by President Obama’s “It’s On Us” campaign which states: “[a]n estimated one in

       five women has been sexually assaulted during her college years. . . ."

       https://www.whitehouse.gov/blog/2014/09/19/president-obama-launches-its-us-

       campaign-end-sexual-assault-campus;                https://www.whitehouse.gov/the-press-

       office/2014/04/29/fact-sheet-not-alone-protecting-students-sexual-assault.

 27.   According to Denison publications, 55% of its current 2,150 students are female.

       http://denison.edu/campus/about/fast-facts. Therefore, if the one in five statistic were

       applicable, 236 female Denison students would be sexually assaulted over their four year

       stay at Denison. But, Exhibit 43 proves that during 2012-14 only 17 Denison students

       alleged they were victims of “sex offenses.”

 28.   Moreover, Emily Yoffe’s 2014 article in Slate refutes sexual assault statistics relied on by

       President Obama and/or Denison.        Emily Yoffe, The College Rape Overcorrection,

       SLATE,                        December                        7,                      2014,

       http://www.slate.com/articles/double_x/doublex/2014/12/college_rape_campus_sexual_a

       ssault_is_a_serious_problem_but_the_efforts.html Ms. Yoffe asked Christopher Krebs -

       the lead author of the study cited by President Obama - whether his study represented the

       experience of the approximately 12 million female students in America. Id. Mr. Krebs

       stated those involved in the study, “don’t think one in five is a nationally representative

       statistic.” Id. This was because Mr. Kreb stated his team’s sampling of only two schools

       “[i]n no way . . . make[s] our results nationally representative.” Id. See also, Reggie D.



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       Yager, What’s Missing From Sexual Assault Prevention and Response, (April 22, 2015)

       http: ssrn.com/abstract=2697788 (discussing a United States Department of Justice study

       from 2014 which determined the “rates of sexual assault for college women is 6.1 per 1000

       students . . . .”); Heather Mac Donald, An Assault on Common Sense, The Weekly

       Standard,   Nov.   2,   2105,   http://www.weeklystandard.com/an-assault-on-common-

       sense/article/1051200   (detailing why a recent survey conducted by Association of

       American Universities has been improperly distorted to falsely suggest large percentages

       of female college students are being sexually assaulted on America’s college campuses).

 29.   Ms. Yoffe also noted that if the “one-fifth to one-quarter assertion [regarding sexual

       assaults on college campuses were accurate that] would mean that young American college

       women are raped at a rate similar to women in Congo, where rape has been used as a

       weapon of war.” Emily Yoffe, The College Rape Overcorrection, SLATE, December 7,

       2014,

       http://www.slate.com/articles/double_x/doublex/2014/12/college_rape_campus_sexual_a

       ssault_is_a_serious_problem_but_the_efforts.html     And, Ms. Yoffe debunked the sexual

       assault statistics relied on by President Obama and/or Denison by discussing a:

           “special report from the Bureau of Justice Statistics title ‘Rape and Sexual
           Assault Victimization Among College-Age Females, 1995-2013’ . . . [which]
           found that contrary to frequent assertions by some elected officials, about the
           particular dangers female college students face, they are less likely to be
           victims of sexual assault than their peers who are not enrolled in college. The
           report found . . . the incidence [of sexual assault] . . . was far lower than
           anything approaching 1 in 5: 0.76 percent for nonstudents and 0.61 percent for
           students.” Emily Yoffe, The Problem with Campus Sexual Assault Surveys,
           SLATE,                      Sept.                   24,                   2015.
           http://www.slate.com/articles/double_x/doublex/2015/09/aau_campus_sexual
           _assault_survey_why_such_surveys_don_t_paint_an_accurate.html




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 30.   Denison’s legitimate goal of preventing sexual assault is not the issue in, nor is it the basis

       for, this Complaint. Rather, this Complaint addresses Denison’s unlawful and/or gender

       biased discipline of male students like John Doe who have been falsely accused of sexual

       assault.

 31.   Denison’s unlawful and/or gender bias has created a hostile environment which in turn

       creates an adverse educational setting in violation of Title IX in part because Denison

       engages in a pattern and practice of subjecting male students like John Doe to sex stereo-

       typing discrimination based on unlawful notions of masculinity and femininity. This

       hostile environment causes innocent males on Denison’s campus to be unlawfully

       disciplined and interferes with males’ ability to participate in or benefit from various

       activities including learning on campus. See e.g., Exhibits 2-6 (containing court filings of

       male Denison students who alleged Denison unlawfully disciplined them for engaging in

       sexual misconduct which they did not commit).

 32.   Denison demonstrates its unlawful conduct and/or gender bias, in part, by alleging Denison

       Policies related to sexual assault are gender neutral when, in fact, Denison implements

       Denison Policies in a gender biased fashion in order to unlawfully discipline males students

       falsely accused of sexual misconduct.

 33.   In addition, various Denison administrators and faculty members have evidenced gender

       bias towards male students alleged to have engaged in sexual misconduct. One example is

       Kristin Hausman (“Hausman”) who is Denison’s Director of Resident Housing (and) chair

       of the first University Conduct Board (“UCB#1”) which disciplined John Doe. Evidence

       of Hausman’s gender bias include, but are not limited to:

        (a)       Hausman’s gender biased off-the-record statements to fellow UCB#1
                  panel members which included her allegation that UCB#1 needed to weigh


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                 the “future of 1000 girls” when adjudicating Jane Doe’s claims against
                 John Doe;3

          (b)     Hausman’s application of pressure on fellow UCB#1 members to impose
                  greater sanctions on John Doe than the sanctions these UCB#1 members
                  sought to impose on John Doe;

          (c)     Hausman’s gender biased behavior against John Doe during UCB#1
                  which included, but was not limited to: (i) her aggressively staring down
                  John Doe during his testimony; (ii) smiling and laughing during the
                  UCB#1 as if to trivialize John Doe’s testimony; and (iii) hindering John
                  Doe’s ability to cross-examine Clifford during UCB#1;

          (d)     Hausman’s history of exhibiting gender bias against male students alleged
                  to have engaged in sexual misconduct. See e.g., Exhibit 6, p.21-28
                  (containing the court filing of a male Denison student which details
                  Hausman’s bias against the male student); and

          (e)     Hausman’s taking of President Obama’s “It’s On Us”
                  pledge (https://twitter.com/KRHausman) which seeks the aggressive prosecution
                  of male students alleged to have engaged in sexual misconduct. See generally,
                    http://itsonus.org/index.html#pledge

 34.    Hausman’s “It’s On Us” pledge is related to the national “It’s On Us” campaign to protect

        female students from male students via statements such as:

             a) Stating: “It’s on us to make sure guys know that if she doesn’t or can’t
                consent          to       sex,        it’s      sexual         assault.”
                https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=2
                &ved=0CCMQFjABahUKEwjW2vihqpbJAhUI02MKHeaeC94&url=http
                %3A%2F%2Fitsonus.org%2Fassets%2Ffiles%2FIt%27s_On_Us_Organi
                zing_Guide_Fall_2015.pdf&usg=AFQjCNGy24MM2vn7-
                N7HwwUnshc6d6q0gQ&sig2=nlpOPMfxwODg7eSMWYrbxA&cad=rja,
                pg. 11 (emphasis added);

             b) Suggesting individuals videotape themselves “[s]ay[ing] to camera…it’s
                on us to recognize that if a woman doesn’t or can’t consent to sex, it’s rape.”
                Id., pg. 14 (emphasis added);



 3
  The source of this statement wishes to remain anonymous because of fears of retaliation by Denison’s
 administration.

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              c) Stating: “Never blame the victim,” “always be on the side of the survivor,” and
                 “trust the survivor.” Id., pg.26 (emphasis added);4
              d) Vice President Joseph Biden’s statement that those that make their rape
                 allegations      public   “give    millions    of    women      hope.”
                 https://twitter.com/ItsOnUs; and

              e) President Barack Obama’s statement on International Day for the
                 Elimination of Violence Against Women that: “…together we can change
                 our culture for the better by ending violence against women and girls…IT’S
                 ON US…” ; Exhibit 17 (containing page from It’s On Us Facebook page)
                 (emphasis added).

 35.     Based on the aforementioned facts, Hausman should have recused herself from UCB#1 in

         part because her gender bias violates Weinstein’s adoption of the “blueprint” from the

         Culture of Respect’s website. This is because this “blueprint” states John Doe had a “right”

         to “an investigation conducted by individuals . . . who do not have a conflict of interest or

         bias for or against . . . the accused student.”                See, http://cultureofrespect.org/legal-

         issues/for-students).

 36.     Another example of the Denison’s gender bias includes its selection of Defendant Katie

         Clifford (“Clifford”) - an affiliated consultant of NCHERM – to conduct the gender biased

         investigation of John Doe detailed below. See e.g., Exhibit 18 (containing NCHERM’s

         profile of Clifford).



                             JOHN DOE’S ENROLLMENT AT DENSION
                                            AND
                                INTERACTIONS WITH JANE DOE




 4
   It should be noted, academic studies suggest a substantial percentage of sexual assault allegations are
 false. See e.g., Reggie D. Yager, What’s Missing From Sexual Assault Prevention and Response, (April
 22, 2015), pgs.46-62 http: ssrn.com/abstract=2697788.             The rationale behind many of these false
 allegations of sexual assault are: (i) the need for a cover story or alibi; (ii) retribution for a real or perceived
 wrong, rejection or betrayal; (iii) desire to gain sympathy or attention; or (iv) extortion. Id., p.63-65.

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 37.   John Doe is from Ohio where he worked diligently in high school, graduated with a good

       academic record (3.7/4.0) and scored in the top percentiles on the SAT (1600), a

       standardized college entrance examination.

 38.   Setting his sights on a college education from a top ranked college, John Doe was excited

       to accept an offer to attend Denison. John Doe began his studies in the fall of 2012, having

       received the Denison Scholarship Award, Denison Grant, the Denison Alumni Award and

       the Bookstore Grant amounting to over 60% of the Denison tuition.

 39.   John Doe was a student at Denison until Denison unlawfully expelled him on July 8, 2015.

 40.   Defendant Jane Doe, upon information and belief, is currently enrolled as a junior at

       Denison and living on Denison’s campus in Granville Ohio.

 41.   Jane Doe was younger than the minimum age for consumption of alcohol at all times

       relevant to the events described in the Complaint.

 42.   While at Denison, John Doe socialized with Jane Doe on several occasions. On one

       occasion, on or about September 11, 2014, Jane Doe and John Doe went to his dorm room

       to “make out” and have sexual intercourse. Jane Doe became ill and told John Doe she

       wanted to go back to her dorm room. Jane Doe and John Doe did not engage in any sexual

       activity (and) John Doe walked Jane Doe back to her dorm.

 43.   From September 11, 2014 through the morning of February 14, 2015, John Doe and Jane

       Doe occasionally saw each other at parties and hung out together on occasions.

 44.   On the evening of February 13, 2015, John Doe and Jane Doe started texting each other

       about getting together in the early morning hours of February 14, 2015. Exhibit 19, pp. 36-

       38 (containing text messages between Jane Doe and John Doe).




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 45.   Throughout the evening of February 13, Jane Doe attended approximately four or five

       parties across campus while John Doe remained largely in his dorm room.

 46.   During the evening of February 13, Jane Doe kept John Doe apprised of her locations and

       activities by text and told John Doe that she planned to come to his room later. Id., pp. 36-

       39.

 47.   At about 1:00 a.m. on February 14, 2015, Jane Doe attended a FIJI fraternity party held on

       Denison’s campus. Jane Doe later told Clifford that Jane Doe and her friend entered the

       party and grabbed an unopened beer. During the party, a male student – known as “Man

       Bun” - approached Jane Doe and switched her beer with an opened beer. This male student

       later took the beer he gave Jane Doe away while stating: “I only fuck with freshman.” See,

       Exhibit 20, pgs. 10 and 11 (containing Clifford’s Report).

 48.   Just prior to leaving the FIJI party, Jane Doe’s friend Ciara asked Jane Doe if she was

       “okay to get home” without Ciara and Jane Doe responded she was fine. Id. and p. 36.

 49.   Jane Doe also told Clifford about her conversations with John Doe’s friend Sam (“Sam”)

       and how she had been texting John Doe on Feb. 13 and 14. Id., p. 11. In fact, one of Jane

       Doe’s texts to John Doe references that “Sam said I should come.” Exhibit 19, p. 40-41.

 50.   Sam told Clifford how Jane Doe approached Sam at a campus party and asked whether

       Jane Doe should “hook up” with John Doe. Sam also told Clifford that Jane Doe “did not

       seem drunk” and “was not falling down, stumbling or throwing up.” Exhibit 20, p. 43.

       Further, Sam told Clifford that Jane Doe was “openly discussing sexual topics and asking

       advice about hooking up with” John Doe.        Id. See also, Exhibit 21 (containing Sam’s

       Affidavit presented to Denison during John Doe’s internal appeal).




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 51.   Sam’s comments about Jane Doe’s not stumbling, not falling, and not appearing too drunk

       are critical, in part, because Sam was the second to the last person to be with Jane Doe

       before she arrived at John Doe’s dormitory.

 52.   Based on witness testimony, Clifford concluded Jane Doe left the FIJI party at

       approximately 2:30 am, one and a half hours after she had arrived. Exhibit 20, pg. 11.

 53.   Clifford also concluded Jane Doe’s texts demonstrated she arrived at the back door of John

       Doe’s dormitory at approximately 2:41 a.m. Id.

 54.   Upon arriving in John Doe’s room, Jane Doe voluntarily started to undress herself and

       initiated sexual activity with John Doe which included John Doe using his hand to give

       Jane Doe an orgasm by massaging her clitoris. Id., p.19.

 55.   After Jane Doe had an orgasm, she asked John Doe why he stopped. Id. During the ensuing

       conversation, John Doe suggested Jane Doe perform oral sex on him. Id., pg. 20 Jane Doe

       stated she would rather have sexual intercourse and asked John Doe to get a condom. Id.

       But, John was not able to maintain an erection to the dismay of Jane Doe, who insisted

       John Doe’s erection difficulties were her fault.     Id., See also, Exhibit 19, p.31, 32

       (containing Jane Doe’s February 15, 2015 text to John Doe).

 56.   Sometime later on February 14th, while Jane Doe was in the bathroom of her dorm, she told

       an unidentified Denison SHARE (Sexual Harassment and Rape Education) advocate that

       she felt sick even though she had not consumed that much alcohol the night before. This

       SHARE advocate suggested someone put a date rape drug in Jane Doe’s drink at the FIJI

       party.

 57.   According to Exhibit 22 - which contains a SHARE/CSMART brochure - Denison’s

       SHARE advocates are trained to help people who allege sexual misconduct by referring



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       them to supportive services and recommending immediate medical attention so as to

       preserve evidence. For instance, SHARE advocates are trained “to provide peer support .

       . . and resources to survivors of sexual harassment” which include “information and

       resources about . . . the local police, the Licking Memorial Hospital’s policy on reporting

       sexual assault, the medical collection of evidence….” Exhibit 22, pg.2.

 58.   Upon information and belief, the SHARE advocate followed her training and

       recommended Jane Doe seek medical treatment to evaluate the presence of any date rape

       drug like GHB.

 59.   After receiving the SHARE advocate’s suggestion regarding someone putting a date rape

       drug in Jane Doe’s drink at the FIJI party, Jane Doe began researching symptoms of GHB.

       (Exhibit 20, pg. 14).

 60.   No one has alleged John Doe was involved in Jane Doe’s alleged ingestion of GHB. Id.

       In fact, John Doe had no knowledge of Jane Doe’s GHB allegations until he received her

       text message during the evening of February 14th. In this text exchange, Jane Doe alleges

       someone put something into her drink. Exhibit 19, pg. 28. In response, John Doe writes:

       “I didn’t know that, well are you ok and all? You seemed really okay last night so I’m a

       little shocked…” Id.

 61.   John Doe was justifiably “shocked” because none of the witnesses interviewed by Clifford

       reported: (a) seeing someone slip GHB into Jane Doe’s drink; or (b) observing Jane Doe

       exhibit the following symptoms of GHB detailed on Mayo Clinic’s website:

            1. Hallucinations

            2. Paranoia

            3. Dilated pupils



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            4. Chills and sweating

            5. Involuntary shaking (tremors)

            6. Behavior changes

            7. Muscle cramping and teeth clenching

            8. Reduced inhibitions

            9. Heightened or altered sense of sight, sound and taste

            10. Decreased coordination

            11. Poor judgment

            12. Memory problems or loss of memory

            13. Reduced consciousness

           14. Increased or decreased heart rate and blood pressure.”
               http://www.mayoclinic.org/diseases-conditions/drug-
               addiction/basics/symptoms/CON-20020970).

 62.   Nevertheless, Jane Doe started alleging to others that someone gave her GHB at the FIJI

       party discussed in ¶47.   For example, Jane Doe told a Denison “Standards’ Chair” that

       someone drugged Jane Doe at the FIJI mixer (and) that her sorority sisters should be

       warned to watch for open drinks at an upcoming FIJI mixer. Exhibit 20, pp. 15 & 16. As

       a result, the mixer was cancelled. Id.

 63.   After the mixer was cancelled, FIJI members and the male student “Man Bun” began

       retaliating against Jane Doe for spreading the false rumor about her being drugged at the

       FIJI mixer. Id. Clifford advised UCB#1 that as a result of this retaliation, Jane Doe filed

       a complaint against John Doe in April of 2015 which contained Jane Doe’s false allegations

       that John Doe engaged in sexual misconduct.




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 64.   Upon information and belief, neither Clifford nor Denison believed Jane Doe’s claim that

       “Man Bun” administered GHB to Jane Doe. Evidence supporting this belief includes, but

       are not limited to:

          a) Clifford failed to identity “Man Bun” even though Jane Doe told Clifford
             that he was allegedly putting GHB into drinks at Denison parties so he could
             “fuck freshman”;

          b) Clifford told UCB#1 that the identity of “Man Bun” was “irrelevant” to
             Clifford’s investigation;

          c) Clifford advised UCB#1 that Title IX Coordinator, Steve Gauger (“Gauger”)
             decided not to identify and/or discipline “Man Bun” even though Jane Doe
             alleged he gave her GHB.

 65.   Upon information and belief, neither Clifford nor Denison believed Jane Doe’s allegation

       that ten minutes after allegedly ingesting GHB that something “hit” Jane Doe and she did

       not “remember much of the evening after that point in time.” Exhibit 20 p. 28. Evidence

       supporting this belief includes, but is not limited to, the following statements Jane Doe

       made to Clifford and/or Denison’s employees:

          a. Jane Doe recalls that after making out with John Doe she got dressed and walked
             back to her dorm room. Exhibit 20, pg.12;

          b. Jane Doe remembers John Doe had difficulty maintaining an erect penis when they
             were making out. Exhibit 19, p.31 & 32;

          c. Jane Doe recalls that prior to John Doe’s erection difficulties, she and John Doe
             had been “mak[ing] out” in his dorm room. Exhibit 20, p.12;

          d. Jane Doe remembers that the hat she was wearing hit John Doe in the head when
             they were kissing. Id.;

          e. Jane Doe recalls she and John Doe talked for a while on the couch in his dorm room
             prior to making out. Id.;

          f. Prior to sitting on the couch, Jane Doe remembers she and John Doe checked the
             various rooms in his suite to confirm his roommates were not present. Id.;
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          g. Jane Doe recalls walking up the stairs of John Doe’s dorm and telling John Doe
             that she was tired. Id.;

          h. Jane Doe remembers: (i) grabbing her coat at the FIJI party, (ii) leaving the party
             with the intent of going to John Doe’s dorm, and (iii) and arriving at John Doe’s
             dorm. Id., pg. 11;

          i. Jane Doe recalls: (i) her friend Ciara telling Jane Doe that Ciara was leaving the
             FIJI party, (ii) Ciara asking Jane Doe was okay to walk home, and (iii) Jane Doe
             telling Ciara she was ”okay” and that she did not need anyone to walk her home.
             Id., and pg 43;

          j. Jane Doe remembers: (ii) seeing John Doe’s friend Sam at the FIJI party, (ii) asking
             Sam if he knew John Doe, (iii) telling Sam that Jane Doe and John Doe has been
             texting each other about getting together later that night; and (iv) Sam telling Jane
             Doe that she should give John Doe a chance. Id. pg. 11.


                 DENISON’S UNLAWFUL DISCIPLINE OF JOHN DOE
 66.   On or about April 6, 2015, Gauger: (a) interrogated John Doe regarding allegations that he

       engaged in sexual misconduct with Jane Doe; (b) demanded John Doe provide copies of

       his text messages with Jane Doe; and (c) notified John Doe that he could have no contact

       with Jane Doe. In doing so, Gauger violated John Doe’s rights under the Violence Against

       Women Act (“VAWA”) by not informing John Doe that he had a right to have an advisor

       of his choice present when he talked to Gauger.        Specifically, Gauger violated the

       following provision of VAWA’s provision:

           “the accuser and the accused are entitled to the same opportunities to have
          others present during an institutional disciplinary proceeding, including the
          opportunity to be accompanied to any related meeting or proceeding by an
          advisor of their choice;” Sec. 304. Campus Sexual Violence, Domestic Violence,
          Dating, Violence, and Stalking Education and Prevention. VAWA.




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  67.   Gauger’s failure to notify John Doe of his right to be represented by an attorney during

        Denison’s disciplinary process also violated the following directives contained in the

        Federal Register:

          “At the outset of the discussion of this issue, the Department made clear that its
          interpretation of the statutory language was that the accused and the accuser are
          entitled to an advisor of their choice, including an attorney . . . §
          668.46(k)(2)(iii). . . provide[s] that the institution cannot limit the choice or
          presence of advisor for either the accuser or the accused in any meeting or
          institutional                      disciplinary                      proceeding.”
          https://www.federalregister.gov/articles/2014/10/20/2014-24284/violence-
          against-women-act.

 68.    In addition, the Culture of Respect’s website – Denison’s “blueprint” for conducting

        investigations of sexual misconduct – gave John Doe the right to have an attorney present

        during Denison’s disciplinary process by stating John Doe had a “right”:

           “to have an advocate of your choice, who may be an attorney, present with you
          at all phases of the investigation and adjudicatory process. Your school may
          limit the extent to which the advocate can speak and participate, but any limit
          imposed on your advocate must be imposed equally on the accused student’s
          advocate.” https://cultureofrespect.org/legal-issues/for-students/

 69.    Nevertheless, Denison repeatedly denied John Doe’s request to have an attorney present

        during the various meetings and hearings conducted by Denison to address Jane Doe’s false

        allegations against John Doe.

 70.    Denison erected additional unlawful roadblocks to John Doe’s defense such as Gauger’s

        April 9, 2015, communication with John Doe contained in Exhibit 39. This communication

        informed John Doe that he was under investigation by Denison (and) prohibited John Doe

        from gathering evidence and testimony to defend himself by stating:

          “[w]e expect you to keep the investigation and content of our communications
          confidential. This means that you should not talk about the investigation, or the
          statements you make during the interview, with your colleagues, other university
          students and employees.” Id.pg. 1

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 71.   Since Denison crippled John Doe’s ability to gather evidence and testimony to defend

       himself, he was forced to rely on Clifford to engage in an unbiased investigation. But, as

       detailed in this Complaint, Clifford’s investigation and testimony to UCB#1 evidenced her

       gender bias against John Doe.

 72.   For example, Clifford’s unlawful and/or gender biased conduct included, but was not

       limited to, her UCB#1 testimony regarding GHB which she alleged caused “behaviors”

       commonly associated with individuals operating under the influence of alcohol or

       marijuana.

 73.   Clifford knew or should have known her testimony regarding GHB was false in part

       because the Mayo Clinic’s website – Clifford’s “go to” source for information – identified

       GHB symptoms far more debilitating than mere alcohol intoxication and/or being high on

       marijuana. Supra, ¶61 (containing the Mayo Clinic’s website findings regarding GHB

       symptoms).

 74.   In addition, instead of informing the UCB#1 that none of the witnesses Clifford

       interviewed provided testimony suggesting Jane Doe manifested the Mayo Clinic’s GHB

       symptoms, Clifford inaccurately testified that Jane Doe’s alleged memory loss could have

       been caused by GHB.

 75.   Similarly, instead of discussing the contradictions inherent in Jane Doe’s selective memory

       loss detailed in ¶65 above, Clifford falsely claimed Jane Doe’s alleged “poor coordination”

       suggested someone covertly gave Jane Doe GHB. Clifford’s allegation lacked merit in

       part because: (a) a student named Louie - who accompanied Jane Doe when she was

       walking to John Doe’s dorm - reported Jane Doe was walking deliberately and not



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       stumbling; and (b) Sam’s testimony that Jane Doe “did not seem drunk” and “was not

       falling down, stumbling or throwing up.” See generally, Exhibit 20, pgs. 31 and 37; Exhibit

       21, and Exhibit 23.

 76.   Clifford’s unlawful and/or gender biased conduct also includes, but is not limited to, her

       failure to address Jane Doe’s GHB allegations via ATIXA’s definition of “incapacitation”

       which governed Denison’s inquiry into whether Jane Doe’s interactions with John Doe

       should be deemed consensual.

 77.   Initially, Denison did not inform John Doe that ATIXA’s definition of “incapacitation”

       governed Denison’s inquiry into whether Jane Doe’s interactions with John Doe were

       consensual. Instead, Clifford cited Denison’s 2014-15 Policy on Sexual Assault and Other

       Sexual Misconduct located in Exhibit 12. See generally, Exhibit 20, pg. 6. This policy

       defines consent as follows:

          “Consent shall be defined as a freely and affirmatively communicated
          willingness to participate in sexual activity, expressed either by words or actions.
          Consent may never be obtained through the use of force, coercion or
          intimidation, or if the victim is mentally or physically disabled or incapacitated,
          including through the use of drugs or alcohol. The existence of a dating
          relationship between the persons involved or of a past sexual relationship should
          never provide the basis for an assumption of consent.” Exhibit 12, pg.1
          (emphasis added).

 78.   During UCB#1, confusion developed over how UCB#1 should define the term

       “incapacitation” in part because Clifford’s Report used the term 21 times. See generally,

       Exhibit 20. In response to questions about how to define the term, Clifford did not direct

       UCB#1 members to ATIXA’s definition of “incapacitation. Instead, Clifford falsely

       alleged incapacitation defies definition because it is “not a black or white” term.

 79.   After the UCB#1 hearing, John Doe realized Clifford’s Report and UCB#1 testimony

       regarding incapacitation evidenced gender bias. So, John Doe asked Gauger to provide

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       Denison’s definition of the term. In response, Gauger provided John Doe with Exhibit 7

       which stated Denison and Clifford utilized ATIXA’s definition of incapacitation which is:

           “[i]ncapacitation is a state where someone cannot make rational, reasonable
          decisions because they lack the capacity to give knowing consent (e.g., to
          understand the ‘who, what, when, where, why or how’ of their sexual
          interactions. Sexual activity with someone who knows to be – or based on the
          circumstances should reasonably have known to be – mentally or physically
          incapacitated (by alcohol or other drug use, unconsciousness, or blackout),
          constitutes a sexual misconduct violation. An incapacitation analysis applies a
          reasonable person standard.” Exhibit 7 (containing Gauger’s May 7, 2015
          email to John Doe and Jane Doe)(internal footnotes to ATIXA’s definition of
          incapacitation omitted)(emphasis added).


 80.   As detailed above in part in ¶65 above, Clifford and UCB#1 clearly knew or should have

       known Jane Doe recalled the “who, what, when, where, why or how” of her sexual

       interactions with John Doe. Therefore, Clifford’s UCB#1 testimony and UCB#1 proposed

       discipline of John Doe unlawfully applied Denison’s definition of incapacitation.

 81.   Moreover, because John Doe did not receive Exhibit 7 until May 7, 2015 – the day after

       UCB#1 recommended John Doe be permanently expelled from Denison - Denison

       prejudiced John Doe’s defense by unlawfully withholding Denison’s definition of

       incapacitation.

 82.   Clifford’s Report and UCB#1 testimony also evidenced gender bias by failing to illuminate

       incapacitation issues addressed in ATIXA’s Tip of the Week contained in Exhibit 24. This

       tip discussed how five colleges “got it completely wrong” in finding male students

       responsible for “hook-ups” when alcohol was involved. Id. p. 1. Specifically, ATIXA

       expressed concerns that these colleges are making “Title IX Plaintiffs” of the students who

       were wrongly accused (and) noted:

          “A common policy problem comes from failing to distinguish between
          intoxicated and incapacitated. Yet, the most serious issue comes from failing to


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          implement a mens rea, if you will, within the definition. Certainly, criminal
          concepts like mens rea are not strictly applicable to the campus conduct process,
          but if we agree as I stated above that having sex with a willing, yet intoxicated
          person is not an offense, there must be something that the respondent does,
          beyond having sex, that makes a lawful act (sex) into a policy violation . . . there
          has to be something more than an intent to have sex to make this an offense.
          Otherwise, men are simply being punished for having sex, which is gender
          discrimination under Title IX, because their partners are having sex too and are
          not being subject to the code of conduct for doing so. Without a knowledge
          standard, a respondent will suffer an arbitrary and capricious application of the
          college’s rules.” Id. (emphasis added).

 83.   Evidence of Denison and/or Clifford’s unlawful and/or gender biased conduct also includes

       their violation of OCR directives which include, but are not limited to:

          a) “Public and state-supported schools must provide due process to the alleged
             perpetrator” U.S. Dep’t Of Education Office of Civil Rights, Dear
             Colleague            Letter,           (Apr.             4.          2011);
             http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html

          b) Denison and/or Clifford must employ “[p]rocedures that . . . will lead to
             sound and supportable decisions.” U.S. Dep’t Of Education Office of Civil
             Rights, Revised Sexual Harassment Guidance: Harassment of Students By
             School Employees, Other Students, or Third Parties (Jan. 2001);
             http://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf; and

          c) “Investigations must be adequate, reliable and impartial, including the
             opportunity for both parties to present witnesses and other evidence.” Id.

 84.    In addition, Denison’s gender bias included Denison’s decision to deprive John Doe the

        opportunity to question Jane Doe when she provided testimony during UCB#1 even

        though the CSC gave John Doe the right to question witnesses. See generally, Exhibits

        11-12.,

 85.    Denison’s gender bias included Denison’s decision to prohibit John Doe from presenting

        character witnesses testimony at UCB#1 even though Jane Doe was permitted to present

        such testimony.



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 86.    John Doe raised many of the aforementioned examples of gender bias in his timely appeal

        of UCB#1 decision contained in Exhibit 25.

 87.   Denison’s Policies required John Doe’s appeal be granted because the appeal outlined

       errors in UCB#1’s decision. Nevertheless, on or about May 28, 2015, John Doe received

       Exhibit 26 from Kennedy which merely admitted Denison engaged in a “procedural

       irregularity.” As a result, Exhibit 26 advised John Doe that Denison would empanel a

       second UCB (“UCB#2) for purposes of considering the sanction imposed on John Doe.

 88.   Although Denison refused John Doe’s request to identify Denison’s “procedural

       irregularity,” this irregularity likely involved Denison’s violation of John Doe’s FERPA

       rights. This violation occurred when UCB#1 enhanced its sanction against John Doe based

       on FERPA protected information from an unrelated event of which John Doe was found

       “not responsible.”

 89.   On June 9, 2015, Denison’s Dean of Student Bill Fox (“Fox”) provided Exhibit 27 to John

       Doe which stated UCB #2 would convene on June 16, 2015 to consider the sanction

       imposed by UCB#1. Exhibit 27 (containing Bill Fox’s June 9, 2015 email to John Doe).

       Exhibit 27 stated John Doe was to be given “much latitude … to offer a statement or other

       information relative to the board's charge of determining the sanction.” Yet, when John

       Doe offered an opening statement, Board Chair Bill Fox told the Board to strike John Doe’s

       opening statements.

 90.   The empaneling of UCB#2 violated the CSC which states the UCB that makes a

       “responsibility” determination is also responsible for making sanctions recommendations

       to Denison’s Office of Student Conduct (“OSC”).         See generally, Exhibit 11, p.11




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       (containing the CSC’s mandates regarding how disciplinary sanctions are imposed on

       students).

 91.   Denison’s gender bias conduct during UCB#2 included, but was not limited to, depriving

       John Doe of the opportunity to question Jane Doe when she provided testimony during

       UCB#2 even though the CSC allowed John Doe to question witnesses such as Jane Doe.

 92.   Denison’s gender bias conduct during UCB#2 included, but was not limited to, violating

       the CSC by limiting John Doe access to Jane Doe’s “impact statement” which UCB#2

       considered in sanctioning John Doe.

 93.   John Doe’s written statement to UCB#2 – contained in Exhibit 28 - disclosed why UCB#2

       should impose no sanction against John Doe in part because of errors committed by

       UCB#1. These errors included, but were not limited to Denison’s violation of ATIXA’s

       “Tip of the Week” discussed in ¶82 above. See generally, Exhibit 28 (containing John

       Doe’s written statement to UCB#2).

 94.   John Doe’s UCB#2 statement in Exhibit 28 also demonstrated how Denison’s gender bias

       caused John Doe to be unlawfully found responsible for sexual misconduct. Nevertheless,

       UCB#2 ignored UCB#1’s unlawful and gender biased actions and re-imposed UCB#1’s

       expulsion sanction. See generally, Exhibit 29 (containing UCB#2’s findings).

 95.   On or about June 22, 2015, John Doe provided Exhibit 30 to Denison which timely

       appealed the decisions of UCB#1 and UCB#2 to Denison’s University Appeals Board

       (“UAB”).

 96.   On or about July 1, 2015, John Doe provided Exhibit 31 to Kennedy which requested UAB

       board chair - Dr. Rebecca Kennedy – be excluded from the UAB because of her: (a)

       academic publications; and (b) position as Interim Director of Women’s Studies suggested



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        gender bias. Exhibit 31 (containing John Doe’s July 1, 2015 email to Kennedy). For

        example, John Doe noted concerns with Dr. Kennedy’s publications which included: (a)

        Legal And 'Sub-Legal' Violence Against Metic Women In Classical Athens; and (b) Sexual

        Servitude or Domestic Partnership. Id.

 97.    John Doe also sent Exhibit 32 to Kennedy which contains specific passages from Dr.

        Kennedy’s publications that suggested gender bias. Exhibit 32 discussed gender bias

        concerns related to Dr. Kennedy’s election to the steering committee of an international

        organization founded “to foster feminist and gender-informed perspectives . . . and to

        advance the goals of equality and diversity within the profession.” Id. (emphasis added).

 98.    Despite the gender bias evidence in Exhibits 31 and 32, Kennedy dismissed John Doe’s

        gender bias concerns regarding Dr. Kennedy and allowed her to chair John Doe’s UAB.

 99.    The contents of John Doe’s appeal to UAB necessitated a finding that John Doe did not

        violate Denison’s Policies. Nevertheless, UAB, driven by gender bias against male

        students like John Doe, unlawfully affirmed the decisions of UCB#2 and/or UCB#1. See

        generally, Exhibit 33 (containing UAB’s July 8, 2015 decision).

 100.   On or about July 16 and 23, 2015, John Doe timely appealed UAB’s decision by sending

        Exhibits 34, 34a & 34b to Weinberg and Kennedy.

 101.   On July 27, 2015, Weinberg sent John Doe Exhibit 35 which unlawfully rejected John

        Doe’s appeal stating: “we believe our process and the resulting decision were both fair and

        lawful.”

 102.   Clifford and/or Denison’s employees and/or agents detailed above knowingly participated

        in the unlawful and/or gender biased discipline of John Doe in part because these

        individuals knew or should have known the following facts proved beyond a reasonable



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        doubt that Jane Doe initiated physical contact with John Doe when Jane Doe was not

        incapacitated by alcohol or drugs.

           a. Jane Doe’s own testimony disproved any GHB allegation in part because she
              explicitly recalled 10 different events that occurred at the FIJI party, on her way to
              John Doe’s dorm, and/or in John Doe’s dorm - including the fact that John Doe
              could not maintain an erection. See generally, Supra, ¶65.

           b. Jane Doe’s witness, Kirsten told Clifford that when Kirsten left Jane Doe at the FIJI
              party that Jane Doe “seemed OK, she was dancing with Ciara.” Exhibit 20 pg. 24;

           c. Louis told Clifford that at approximately 3:00 a.m. when he saw Jane Doe walking
              to Sawyer, she did not appear to be stumbling or intoxicated to the point of inability
              to converse or walk. Id., p.31. See also, Exhibit 23 (containing Louis’ affidavit);

           d. Sam informed Clifford that Jane Doe approached him at the FIJI party and asked if
              she should “hook up” with John Doe – to which Sam told her yes. Exhibit 20, pg.
              37.

           e. Sam told Clifford that he left the FIJI party with Jane Doe (and) reported Jane Doe
              was not falling down, stumbling or throwing up. Id. See also, Exhibit 21 (containing
              Sam Mason’s affidavit);

           f. John Doe informed Clifford that when he first encountered Jane Doe on February
              14th that she “. . . . didn’t seem drunk . . . [and] was not talking to fast or too slow,
              and the conversation did not seem delayed.” Id. at pg. 18;

           g. John told Clifford how Jane Doe voluntarily “took off her boots, then stood up and
              took off her pants” and “took his middle finger and placed it on her clitoris” – telling
              John Doe “not to stop” massaging her clitoris. Id. at pg. 19 and;

           h. John Doe informed Clifford that after Jane Doe had an orgasm she took John Doe’s
              pants off, told John Doe to get a condom, and blamed herself when he could not
              maintain a full erection. Id.at pg. 20.

 103.   Therefore, as detailed above, Denison and/or Clifford’s gender biased and/or unlawful

        investigation of John Doe subjected him to arbitrary and capricious discipline in violation

        of Title IX, FERPA, and VAWA. Denison’s Policies explicitly and/or implicitly promise



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        to afford John Doe the legal rights and protections articulated in Title IX, FERPA, and

        VAWA.

 104.   Upon information and belief, Denison engaged in unlawful and/or gender biased conduct

        in failing to subject Jane Doe to discipline for her underage consumption of alcohol even

        though Denison’s Medical Amnesty Policy did not immunize Jane Doe from discipline

        since Denison knew or should have known Jane Doe’s allegations against John Doe were

        false.

 105.   Upon information and belief, Denison has not disciplined female student(s) when male

        student(s) allege these female student(s) engaged in sexual misconduct with the male

        student(s).

 106.   After being unlawfully disciplined, John Doe attempted to gain acceptance to a university

        of Denison’s caliber. For example, John Doe sought enrollment at John Carroll University

        (“JCU”) in Cleveland. See generally, Exhibits 36 and 37 (containing John Doe’s

        communications with JCU).       But, JCU rejected John Doe’s application because of

        Denison’s aforementioned unlawful discipline of John Doe.

 107.   As a result of Denison and Clifford’s actions (and) the malicious, slanderous and

        defamatory accusations made by Jane Doe, John Doe suffered and will continue to severe

        emotional and mental suffering, anxiety and humiliation. Denison, Clifford and Jane Doe’s

        actions have also irreparably harmed John Doe’s opportunity to continue his higher

        education and/or find employment in the future.

 108.   The conduct of Clifford and/or Denison’s employees and agents detailed above created an

        unlawfully hostile and/or abusive environment at Denison for male students like John Doe.

        See e.g., Mallory v. Ohio Univ., 76 F. App’x. 634, 639-40 (6th Cir. 2003)(setting forth the



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        elements of at Title IX claim); Yusuf v. Vassar College, 35 F.3d 709 (2nd Cir. 1994)

        (rejecting a motion to dismiss Title IX claim filed by a male student alleging he was falsely

        accused of sexual assault in part because “. . . . statements by pertinent university officials,

        or patterns of decision-making that . . . tend to show the influence of gender.”); Zamora v.

        v. Erskine Coll., 2006 U.S. Dist. LEXIS 35780, *32-38 (Greenwood Div., N.C. May 25,

        2006)(rejecting a motion for summary judgment in a Title IX claim where “a jury issue”

        was created with regards to “whether [the college] was deliberately indifferent” to Title IX

        discrimination); Doe v. Bd. of Educ., 982 F. Supp. 2d 641, 652 (D. Md. 2012)(stating

        “severe or pervasive” harm can occur when Title IX plaintiff suffers “humiliat[ion] . . .

        serious anxiety, fear, or discomfort . . . .”)(citations omitted); Wells v. Xavier Univ., 7 F.

        Supp. 3d 746 (S.D. Ohio 2014)(rejecting a motion to dismiss Title IX claim filed by a male

        student alleging he was falsely accused of sexual assault).

 109.   The conduct of Clifford and/or Denison’s employees and/or agents created an unlawfully

        hostile and/or abusive environment at Denison for male students like John Doe in part

        because this conduct is similar to conduct addressed in the publications referenced in ¶6.

 110.   Defendants’ conduct irreparably damaging John Doe’s “good name, reputation, honor, or

        integrity” with an unlawful disciplinary proceedings that will “seriously damage [his]

        standing . . . [and] interfere with later opportunities for higher education and employment.”

        See, Goss v. Lopez, 419 U.S. 565, 573-75 (1975). Evidence of this damage is described

        in part in the publications referenced in ¶6.

                                            JURISDICTION, VENUE

 111.   Denison is an educational institution formed under the laws of the State of Ohio, located

        in Granville, Ohio.



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 112.   This Court and the United States District Court for the Southern District of Ohio have

        concurrent jurisdiction over John Doe’s Title IX claims. See e.g., Thein v. Feather River

        Community College, 2008 U.S. Dist. LEXIS 108357, 2008 WL 2783172 *6

        (E.D.Cal.2008)(discussing concurrent state and federal court jurisdiction over Title IX

        claims); Fortune ex rel. Fortune v. City of Detroit Public Schools, 2004 Mich. App. LEXIS

        2660, 2004 WL 2291333 (Mich.App.2004)(same); Morrison v. Northern Essex

        Community College,        56 Mass. App. Ct.        784, 780 N.E.2d 132, 136 n.9

        (Mass.App.2002)(same); H.M. v. Jefferson County Bd. of Educ., 719 So.2d 793, 796

        (Ala.1998)(same); Mosley v. Beaumont Indep. Sch. Dist., 997 S.W.2d 934, 938

        (Tex.Ct.App.1999)(same).

 113.   This Court and the United States District Court for the Southern District of Ohio have

        personal jurisdiction over Defendants on the grounds that Denison is conducting business

        within the State of Ohio, Clifford also conducts business and resides in the State of Ohio

        and Jane Doe resides in Ohio.

 114.   Venue for this action properly lies in this Court. In the alternative, venue rests with the

        United States District Court for the Southern District of Ohio pursuant to 28 U.S.C. §1391

        because a substantial part of the events or omissions giving rise to the claims occurred in

        its judicial district.

 115.   If this Court determines it lacks jurisdiction over the Counts advanced in John Doe’s

        Complaint, John Doe requests this case be transferred and/or removed to the United States

        District Court for the Southern District of Ohio pursuant to 28 U.S.C. §1441.

                                             Count 1
                             Defamation Per Se by Defendant Jane Doe




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 116.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

 117.   Jane Doe orally, and in writing, defamed John Doe by falsely alleging to Denison

        employees, Denison students, and/or yet to be identified third-parties, that John Doe

        sexually assaulted Jane Doe on or about February 14, 2015 (collectively referred to as “Jane

        Doe’s Allegations”).

 118.   Upon information and belief, Jane Doe published Jane Doe’s Allegations to Denison

        employees, Denison Students, and/or other third-parties not involved in Denison’s

        disciplinary proceeding against John Doe.

 119.   Jane Doe’s Assault Allegations were made with the intent to be understood by those that

        received the allegations that John Doe committed an offense involving moral turpitude that

        subjected John Doe to potential infamous punishment and therefore imputes the

        defamatory character of the oral and written statements.

 120.   Jane Doe’s Assault Allegations were false and defamatory and were made with actual

        malice motivated by ill will, intent to deceive, improper motive, and/or an affirmative act

        to injure John Doe and/or reckless disregard for the truth or falsity of the oral and/or written

        statements.

 121.   In the alternative, Jane Doe negligently published Jane Doe’s Assault Allegations.

 122.   Jane Doe acted with the knowledge of the falsity of Jane Doe’s Assault Allegations and

        with the intent to harm John Doe’s standing with Denison, his future educational and

        employment opportunities, and his standing and reputation at Denison and and/or in the

        community at large.




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 123.   As a direct result of Jane Doe’s Assault Allegations, the character and reputation of John

        Doe at Denison and in the community at large was impaired and he suffered and will

        continue to suffer mental anguish, personal humiliation, and a great loss of reputation.

 124.   As a further direct and proximate cause of Jane Doe’s Assault Allegations, John Doe was

        unlawfully disciplined and expelled by Denison, which has or will result in, among other

        consequences and damages, difficulty in gaining entrance to another university comparable

        to Denison, reduced future earning capacity, and attorneys’ fees.

                                           Count 2
             Intentional Infliction of Emotional Distress by Defendant Jane Doe


 125.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

 126.   When engaged in the conduct detailed above, Jane Doe knew or should have known Jane

        Doe’s Assault Allegations would cause John Doe to suffer serious emotional injury, mental

        anguish, and/or a great loss of reputation.

 127.   Jane Doe’s conduct detailed above exhibited an intentional, reckless, and/or deliberate

        disregard of the high degree of probability that John Doe would suffer immediate and

        continuing emotional distress.

 128.   Jane Doe’s conduct detailed above caused John Doe to suffer profound and ongoing

        psychological and mental anguish.

 129.   Jane Doe’s conduct detailed above was malicious, willful and/or intentional.

 130.   As a direct and proximate result of Jane Doe’s aforesaid conduct, John Doe has suffered

        and will continue to suffer, severe and extreme emotional distress.




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 WHEREFORE, regarding Counts 1-2, John Doe demands judgment and relief against Jane Doe

 as follows:

    A.         Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to

               compensate John Doe’s past and future pecuniary and/or non-pecuniary damages

               caused by Jane Doe’s conduct;

    B.         Judgment for attorneys’ fees;

    C.         Judgment for all other reasonable and customary costs and expenses that were incurred

               in pursuit of this action;

    D.         Pre-judgment interest and post judgment interest as may be permitted by law and

               statute; and/or

    E.         Such other and further relief as this court may deem just, proper, equitable, and

               appropriate.

                                                 Count 3
                          Breach of Contract By Defendants Denison and Clifford

 131.    John Doe realleges and incorporates all the allegations contained in preceding paragraphs

         of this Complaint as though fully rewritten herein.

 132.    John Doe applied to and enrolled at Denison and, with the assistance of his parents, paid

         tuition and other fees and expenses. John Doe did so in reliance on the understanding, and

         with the reasonable expectations, among others, that: (a) Denison would implement and

         enforce Denison Policies include the CSC in Exhibit 11; and that (b) Denison Policies

         would comply with the requirements of applicable law, including Title IX and VAWA.

 133.    Upon information and belief, Denison and Clifford entered into a contract to investigate

         issues related to Jane Doe’s Allegations.             (“Clifford/Denison Contract”).   The

         Clifford/Denison Contract may be the unverified, unsigned, and apparent draft document

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         Clifford attached to her Motion To dismiss (“Alleged CDC”)5 which is attached to this

         Complaint as Exhibit 42. But, since both Denison and Clifford are yet to file Answers in

         this case, John Doe cannot be sure if: (a) the Alleged CDC is the Clifford/Denison Contract;

         or (b) if the Clifford/Denison Contract is an oral contract which cannot be attached to this

         Complaint because of its oral nature. However, if the Alleged CDC contains the terms of

         Denison’s contractual agreement with Clifford, Denison violated Denison’s Policies by

         employing Clifford to adjudicate John Doe’s guilt or innocence since Denison’s Policies

         mandate this adjudication be made by a hearing panel of Denison employees and/or

         students.

 134.    John Doe is a third-party beneficiary to the Clifford/Denison Contract.

 135.    Denison Policies create an express contract or, alternatively, a contract implied in law or

         in fact, between Denison and John Doe. Denison and/or Clifford violated these contracts

         by engaging in the conduct detailed in this Complaint.

 136.    Denison and/or Clifford violated Denison’s Policies and/or the Clifford/Denison Contract

         in part by failing to honor the following OCR directives which Denison’s Policies explicitly

         and/or implicitly incorporate and/or embrace:


 5
   See, Docket 7, PageId.1138-40 (containing Alleged CDC). In addition to being unsigned, the Alleged
 CDC contains information that suggest it is merely a draft. For example, in the “Relation of Parties” section
 it states “[next section, if sole proprietor or consultant – may leave it as Contractor is responsible, where
 necessary, to secure at his/its sole cost, worker’s compensation insurance, disability benefits insurance, and
 any other insurance as may be required by law [depends if we include].” Id. (brackets in original). Other
 “draft” language include a sentence that reads: “Each party shall maintain in full force and effect any and
 all licenses of it by law [may not be needed].” ].” Id. (brackets in original). Similarly, the “Miscellaneous”
 section states: “ . . . . venue for any action to enforce this agreement shall be in the Franklin County Court
 of Common Please (or consider Licking County).” Id. And, the “Notice” section contains the following
 comment: “(NOTE-I have indicated email or fax with confirmation of receipt by the receiving party shall
 constitute written notice).” Id. Finally, Clifford appears to admit neither she nor Denison wanted to be
 bound by the Alleged CDC. This is because Clifford points out how the Alleged CDC states: "[n]o change,
 modification, or waiver about any term of this agreement shall be valid unless it is in writing and signed
 by both parties." Id., p.1131 (all emphasis in original).


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          a) “Public and state-supported schools must provide due process to the alleged
             perpetrator” U.S. Dep’t Of Education Office of Civil Rights, Dear Colleague Letter,
             (Apr. 4. 2011); http://www2.ed.gov/about/offices/list/ocr/letters/colleague-
             201104.html

          b) Denison and/or Clifford must employ “[p]rocedures that ensure the Title IX rights
             of the complainant, while at the same time according due process to both parties
             involved, will lead to sound and supportable decisions.” U.S. Dep’t Of Education
             Office of Civil Rights, Revised Sexual Harassment Guidance: Harassment of
             Students By School Employees, Other Students, or Third Parties (Jan. 2001);
             http://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf; and

          c) “Investigations must be adequate, reliable and impartial, including the opportunity
             for both parties to present witnesses and other evidence.” Id.

 137.   Denison and/or Clifford violated Denison’s Policies and/or the Clifford/Denison Contract

        in part by denying John Doe to opportunity to question witnesses, including Jane Doe, even

        though: (a) these witnesses provided testimony to UCB#1 and UCB#2; and (b) the CSC

        gave John Doe the right to question witnesses. See generally, Exhibits 11-12.

 138.   Denison and/or Clifford’s unlawful and/or gender biased conduct detailed in this

        Complaint evidences their repeated and material breaches of Denison Policies as well as a

        breach of the implied covenant of good faith and fair dealing inherent in Denison’s Policies

        and/or the Clifford/Denison Contract.

 139.   During all times relevant to this Complaint, John Doe did all, or substantially all, of the

        significant things that Denison Policies and/or the Clifford/Denison Contract required John

        Doe do.

 140.   Denison and/or Clifford’s aforementioned breaches of Denison’s Policies and/or the

        Clifford/Denison Contract were wrongful, without lawful justification or excuse. As a

        direct and foreseeable result of these breaches of contract, John Doe has sustained, and will

        continue to sustain, substantial injury, damage, and loss, including, but not limited to:



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        mental anguish; severe emotional distress; injury to reputation; past and future economic

        loss; deprivations of due process; loss of educational opportunities; and loss of future career

        prospects.

                                              Count 4
                   Promissory Estoppel By Defendants Denison and Clifford
                     (in the alternative to Count 3’s Breach of Contract Claim)

 141.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

 142.   Clifford and/or Denison’s employees and/or agents made various promises to John Doe

        regarding how Denison would adjudicate allegations of sexual misconduct against John

        Doe. These promises include, but are not limited to, promises outlined in Denison Policies

        (collectively referred to as “Student’s Rights Promises”).

 143.   Because of the power and authority of Clifford and/or Denison’s employees and/or agents,

        and the relative lack of power of John Doe, John Doe relied upon Clifford and/or Denison’s

        employees and/or agents’ statements that John Doe’s Student’s Rights Promises would be

        honored.

 144.   John Doe reasonably relied on Student’s Rights Promises in accepting Denison’s offer of

        admission and incurring the cost of tuition and related expenses to attending Denison.

 145.   As detailed above, John Doe relied to his detriment on the Student’s Rights Promises and

        this reliance created the environment that allowed Denison’s unlawful discipline of John

        Doe.

 146.   Injustice can only be avoided by enforcement of the Student’s Rights Promises made to

        John Doe.




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 147.   As a direct and foreseeable result of the breach of the Student’s Rights Promises, John Doe

        sustained, and will continue to sustain, substantial injury, damage, and loss, including, but

        not limited to: mental anguish; severe emotional distress; injury to reputation; past and

        future economic loss; deprivations of due process; loss of educational opportunities; and

        loss of future career prospects.

                                              Count 5
                         Negligence By Defendants Denison and Clifford
                   (in the alternative to Count 3’s Breach of Contract Claim and
                                Count 4’s Promissory Estoppel claim)


 148.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

 149.   Having put in place a student disciplinary process based in part on Denison Policies and

        Title IX, Denison owed a duty of care to John Doe to conduct that process in a non-

        negligent manner and with due care.

 150.   Clifford and/or Denison’s employees and/or agents owed John Doe a duty not to engage in

        the unlawful and/or gender biased conduct detailed in this Complaint.

 151.   As detailed in this Complaint, Clifford and/or Denison’s employees and/or agents’ conduct,

        fell below the applicable standard of care and breached these duties of care.

 152.   Clifford and/or Denison’s employees and/or agents’ breaches of the duty of due care caused

        John Doe, in fact and proximately, to sustain substantial injury, damage, and loss,

        including, but not limited to: mental anguish; severe emotional distress; injury to

        reputation; past and future economic loss; deprivations of due process; loss of educational

        opportunities; and loss of future career prospects.




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 WHEREFORE, regarding Counts 3-5, John Doe demands judgment and relief against Denison

 and/or Clifford as follows:

    A.      Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to

            compensate John Doe’s past and future pecuniary and/or non-pecuniary damages

            caused by Defendants’ conduct;

    B.      Order(s) requiring Denison expunge John Doe’s official Denison files of all

            information related to his interactions with Jane Doe;

    C.      Judgment for attorneys’ fees, pursuant any applicable statute;

    D.      Judgment for all other reasonable and customary costs and expenses that were incurred

            in pursuit of this action;

    E.      Pre-judgment interest and post judgment interest as may be permitted by law and

            statute; and/or

    F.      Such other and further relief as this court may deem just, proper, equitable, and

            appropriate.



                                            Count 6:
         Violation of Title IX –Hostile environment and/or discrimination by Denison


 153.    John Doe realleges and incorporates all the allegations contained in preceding paragraphs

         of this Complaint as though fully rewritten herein.

 154.    Pursuant to 20 U.S.C. § 1681, Title IX is a federal statute designed to prevent sexual

         discrimination and/or harassment in educational institutions receiving federal funding.

 155.    Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688, applies to all

         public and private educational institutions that receive federal funds, including colleges

         and universities. The statute prohibits discrimination on the basis of sex in a school’s

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        “education program or activity,” which includes all of the school’s operations. Title IX

        provides in pertinent part: “[n]o person in the United States shall, on the basis of sex, be

        excluded from participation in, be denied the benefits of, or be subjected to discrimination

        under any education program or activity receiving Federal financial assistance.” 20 U.S.C.

        § 1681(a). The United States Supreme Court has held that Title IX authorizes private suits

        for damages in certain circumstances.

 156.   Denison receives federal financial assistance and is thus subject to Title IX.

 157.   Title IX includes an implied private right of action, without any requirement that

        administrative remedies, if any, be exhausted. An aggrieved plaintiff may seek money

        damages and other relief.

 158.   Title IX mandates Denison afford equitable procedures and due process to John Doe which

        includes, but is not limited to: (a) having proper jurisdictional authority to conduct an

        investigation; (b) providing adequate, reliable, and impartial investigation of complaints,

        including the opportunity to present witnesses, and other evidence, (c) that Denison

        employees involved in the conduct of the procedures have adequate training, and/or that

        John Doe have right to not just an advisor, but an attorney.

 159.   Denison knew, or in the exercise of due care should have known, that Denison lacked

        jurisdiction under Denison Policies and/or Title IX to investigate and/or discipline John

        Doe for a physical encounter initiated by Jane Doe when she was not incapacitated.

 160.   Upon information and belief, Denison knew, or in the exercise of due care should have

        known, Denison employees including, but not limited to, Weinberg, Kennedy, Gauger,

        UCB#1, UCB#2, UAB, and/or Clifford lacked training and ability to carry out their

        responsibilities under the disciplinary enforcement requirements of Title IX.



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 161.   Upon information and belief, Denison knew, or in the exercise of due care should have

        known, Denison employees and/or agents including, but not limited to, Weinberg,

        Kennedy, Gauger, UCB#1, UCB # 2, UAB, and/or Clifford held unlawful bias which

        motivated their decisions regarding John Doe.

 162.   Denison’s Policies fail to meet the standards required by Title IX and/or the mandated due

        process safeguards in the United States Constitution (and) fail to reflect the acceptable

        established customs and practices of institutions of higher education in disciplinary

        proceedings regarding allegations of sexual assault.

 163.   Upon information and belief, in virtually all cases of campus sexual misconduct by

        Denison students, the accused student is male and the accusing student is female.

 164.   Denison has created an environment in which male students accused of sexual assault, such

        as John Doe, are fundamentally denied due process as to be virtually assured of a finding

        of responsibility. Such a biased and one-sided process deprives male Denison students like

        John Doe of educational opportunities on the basis of sex.

 165.   Upon information and belief, Denison’s investigation and/or discipline of John Doe was

        taken in order to demonstrate to DOE/OCR, President Obama’s Administration, and/or the

        general public that Denison is aggressively disciplining male students accused of sexual

        assault. Evidence supporting this belief includes, but is not limited to: (a) Exhibit 13 which

        contains Kennedy’s open letter to the Denison community posted two weeks before the

        DOE/OCR announcement that Denison was one of 56 institutions of higher education

        under investigation; and (b) Exhibit 14 which contains Weinberg’s open letters to Denison

        students and his stated commitment to the Culture of Respect “blueprint.”




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 166.   Upon information and belief, Denison has actual or constructive knowledge that Denison’s

        investigation and/or discipline of John Doe posed a persuasive and unreasonable risk of

        gender discrimination with regard to John Doe and/or a hostile environment based on

        gender.

 167.   Denison’s actions and inactions detailed above and below set in motion a series of events

        that Denison knew, or reasonably should have known, would cause male Denison students,

        such as John Doe, to suffer unlawful gender discrimination and/or a hostile environment

        based on gender.

 168.   Denison’s investigation and/or discipline of John Doe are discriminatory and based upon

        or motivated by John Doe’s male gender.

 169.   The gender bias by Denison against John Doe includes, but is not limited to, providing

        preferential treatment to Jane Doe. This preferential treatment includes, but is not limited

        Denison’s refusal to discipline Jane Doe for violating Denison’s Policies detailed above.

        Further, while Gauger sent Jane Doe numerous texts expressing sympathy and desire to

        help Jane Doe, Gauger did not send emails or letters to John Doe similarly expressing

        sympathy for John Doe’s predicament or any desire to help. See e.g., Exhibit 19, pp.5-8

 170.   Denison employees, including but not limited to, Kennedy and Weinberg, received actual

        notice of the fact that Denison’s representatives, including but not limited to, UCB#1,

        UCB#2, UAB, and/or Clifford: (a) violated John Doe’s rights under Denison Policies, Title

        IX, VAWA, FERPA, and/or guidance promulgated by OCR; and/or (b) wrongly found

        John Doe violated Denison Policies which Denison adopted pursuant to federal laws and

        regulations related to Title IX.




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 171.   Denison employees and/or agents, including, but not limited to Weinberg, Kennedy,

        Gauger, UCB#1, UCB#2, UAB, and/or Clifford had the authority to institute corrective

        measures to remedy: (a) Denison’s violations of John Doe’s rights under Denison Policies,

        Title IX, VAWA, and/or guidance promulgated by OCR; and/or (b) Denison’s unlawful

        determination that John Doe violated Denison policies which Denison adopted pursuant to

        federal laws and regulations related to Title IX.

 172.   Denison employees and/or agents, including, but not limited to Weinberg, Kennedy,

        Gauger, UCB#1, UCB#2, UAB, and/or Clifford exhibited deliberate indifference by

        refusing to remedy: (a) Denison’s violations of John Doe’s rights under Denison Policies,

        Title IX, VAWA, and/or guidance promulgated by OCR; and/or (b) Denison’s erroneous

        determination that John Doe violated Denison policies which Denison adopted pursuant to

        federal laws and regulations related to Title IX.

 173.   Denison’s deliberate indifference caused John Doe to suffer a hostile environment and/or

        discrimination so severe, pervasive or objectively offensive that it deprived John Doe of

        access to educational opportunities or benefits (and) caused other harms detailed above.

 174.   Denison’s conduct detailed above involved arbitrary and capricious violations of John

        Doe’s constitutional due process rights and/or Title IX.

 175.   Upon information and belief, Denison possesses additional documentation evidencing

        Denison’s unlawful pattern of gender biased decision making which discriminates against

        male students and/or creates a hostile environment.

 176.   Denison’s hostile environment and/or discrimination caused John Doe economic and non-

        economic damages in an amount to be determined at trial.




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                                                Count 7:
                   Violation of Title IX – Deliberate Indifference by Denison


 177.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

 178.   Denison employees and/or agents, including, but not limited to, Weinberg, Kennedy,

        Gauger, UCB#1, UCB#2, UAB, and/or Clifford acted with deliberate indifference towards

        John Doe because of his male gender.

 179.   Denison employees, including, but not limited to, Weinberg and Kennedy, received actual

        notice of the fact that Denison’s representatives, including but not limited to, UCB#1,

        UCB#2, UAB, and/or Clifford: (a) violated John Doe’s rights under Denison Policies, Title

        IX, VAWA, and/or guidance promulgated by OCR; and/or (b) wrongly found John Doe

        violated Denison policies which Denison adopted pursuant to federal laws and regulations

        related to Title IX.

 180.   Denison employees and/or agents, including, but not limited to, Weinberg, Kennedy,

        Gauger, UCB#1, UCB#2, UAB, and or Clifford had the authority to institute corrective

        measures to remedy: (a) Denison’s violations of John Doe’ rights under Denison’s policies,

        Title IX, VAWA, and/or guidance promulgated by OCR; and/or (b) Denison’s erroneous

        determination that John Doe violated Denison’s policies which Denison adopted pursuant

        to federal laws and regulations related to Title IX.

 181.   Denison employees and/or agents, including, but not limited to, Weinberg, Kennedy,

        Gauger, UCB#1, UCB#2, UAB, and/or Clifford exhibited deliberate indifference by

        refusing to remedy: (a) Denison’s violations of John Doe’s rights under Denison Policies,

        Title IX, VAWA, and/or guidance promulgated by OCR; and/or (b) Denison’s erroneous



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        determination that John Doe violated Denison policies which Denison adopted pursuant to

        federal laws and regulations related to Title IX.

 182.   Upon information and belief, Denison possesses communications evidencing its employees

        and/or agents’ gender based deliberate indifference towards John Doe and/or other

        similarly situated male students.

 183.   Denison’s deliberate indifference caused John Doe economic and non-economic damages

        in an amount to be determined at trial.

                                                Count 8
                      Violation of Title IX – Erroneous Outcome by Denison
    (in the alternative to Plaintiff’s claims against Denison in: (a) Count 3’s Breach of Contract
       Claim; (b) Count 4’s Promissory Estoppel claim; and (c) Count 5’s Negligence Claim)


  184. John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

  185. By expelling John Doe, Denison violated Denison Policies, Title IX, VAWA, and/or

        guidance promulgated by OCR.

  186. Denison employees, including, but not limited to, Weinberg and Kennedy, received actual

        notice of the fact that Denison’s representatives, including but not limited to, UCB#1,

        UCB#2, UAB, and/or Clifford: (a) violated John Doe’s rights under Denison Policies, Title

        IX, VAWA, and/or guidance promulgated by OCR; and/or (b) wrongly found John Doe

        violated Denison policies which Denison adopted pursuant to federal laws and regulations

        related to Title IX.

  187. Denison employees and/or agents, including, but not limited to, Weinberg, Kennedy,

        Gauger, UCB#1, UCB#2, UAB, and/or Clifford had the authority to institute corrective

        measures to remedy: (a) Denison’s violations of John Doe’s rights under Denison Policies,



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         Title IX, VAWA, and/or guidance promulgated by OCR; and/or (b) Denison’s erroneous

         determination that John Doe violated Denison policies which Denison adopted pursuant to

         federal laws and regulations related to Title IX.

  188. Denison employees and/or agents, including, but not limited to, Weinberg, Kennedy,

         Gauger, UCB#1, UCB#2, UAB, and/or Clifford exhibited deliberate indifference by

         refusing to remedy: (a) Denison’s violations of John Doe’s rights under Denison Policies,

         Title IX, VAWA, and/or guidance promulgated by OCR; and/or (b) Denison’s erroneous

         determination that John Doe violated Denison policies which Denison adopted pursuant to

         federal laws and regulations related to Title IX.

  189. Upon information and belief, Denison possesses communications evidencing Denison’s

         and or Clifford’s deliberate indifference in imposing unlawful discipline on John Doe on

         the basis of his gender.

 190.    Denison’s wrongful discipline of John Doe caused John Doe economic and non-economic

         damages in an amount to be determined at trial.

 WHEREFORE, regarding Counts 6-8, John Doe demands judgment and relief against Denison as

 follows:

    A.      Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to

            compensate John Doe’s past and future pecuniary and/or non-pecuniary damages

            caused by Defendants’ conduct;

    B.      Order(s) requiring Denison expunge John Doe’s official Denison files of all

            information related to his interactions with Jane Doe;

    C.      Judgment for attorneys’ fees, pursuant any applicable statute;




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    D.      Judgment for all other reasonable and customary costs and expenses that were incurred

            in pursuit of this action;

    E.      Pre-judgment interest and post judgment interest as may be permitted by law and

            statute; and/or

    F.      Such other and further relief as this court may deem just, proper, equitable, and

            appropriate.

                                             Count 9
                                 Unjust Enrichment – By Denison

 191.    John Doe realleges and incorporates all the allegations contained in preceding paragraphs

         of this Complaint as though fully rewritten herein.

 192.    Denison received payments from John Doe for various items and services, including but

         not limited to tuition, board, books, and activities fees (“John Doe’s Payments”)

 193.    Denison at all times knew it was receiving the benefit of John Doe’s Payments and did in

         fact receive the benefit therefrom.

 194.    Because of Denison’s conduct detailed above, John Doe is now obligated to repay student

         loans incurred as a result of John Doe’s Payments which Denison University knew he

         would incur to attend and enroll at Denison. See e.g., Exhibit 38 (containing John Doe’s

         letter of award from Denison).

 195.    Denison’s retention of John Doe’s Payments would be unjust.

 WHEREFORE, regarding Counts 9, John Doe demands judgment and relief against Denison as

 follows:

    A.      Denison’s reimbursement of John Doe’s Payments;

    B.      Judgment for all other reasonable and customary costs and expenses that were incurred

            in pursuit of this action;

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    C.      Pre-judgment interest and post judgment interest as may be permitted by law and

            statute; and/or

    D.      Such other and further relief as this court may deem just, proper, equitable, and

            appropriate.

                                            Count 10
                                Injunctive Relief –against Denison

 196.    John Doe realleges and incorporates all the allegations contained in preceding paragraphs

         of this Complaint as though fully rewritten herein.

 197.    Based on the facts articulated above, John Doe is entitled to injunctive relief because

         Denison’s discipline of John Doe is unlawful and violates John Doe’ rights under

         Denison’s Policies, federal, and/or state laws.

 198.    Denison’s unlawful discipline of John Doe will cause irreparable harm which is certain,

         great, actual and not theoretical. See e.g., Supra, ¶6 (containing citations to publications

         detailing harm experienced by male students who are falsely accused of sexual misconduct.

 199.    Denison’s unlawful discipline of John Doe cannot be remedied by an award of monetary

         damages because of difficulty or uncertainty in proof or calculation.

 200.    Based on the facts articulated above, John Doe is entitled to injunctive relief which

         includes, but is not limited to an Order requiring Denison expunge John Doe’s official

         Denison files of all information related to his interactions with Jane Doe.

 201.    The granting of injunctive relief will cause no harm to Denison because Denison has no

         cognizable interest in its unlawful discipline of John Doe.

 202.    The granting of an injunctive relief will advance a significant and appreciable public

         interest by protecting members of the public – like John Doe –from having their

         fundamental rights threatened by unlawful government action.


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 WHEREFORE, regarding Count 10 John Doe demands judgment and relief against Denison as

 follows:

            A.     Order(s) requiring Denison expunge John Doe’s official Denison files of all

                   information related to his interactions with Jane Doe;

            B.     Judgment for attorneys’ fees, pursuant to any applicable statute;

            C.     Judgment for all other reasonable and customary costs and expenses that were

                   incurred in pursuit of this action;

            D.     Pre-judgment interest as may be permitted by law and statute; and/or

            E.     Such other and further relief as this court may deem just, proper, equitable, and

                   appropriate.

                                             Count 11
                                 Negligent Supervision – By Denison

 203.   John Doe realleges and incorporates all the allegations contained in preceding paragraphs

        of this Complaint as though fully rewritten herein.

 204.   Pursuant to either the Clifford/Denison Contract or the Alleged CDC, Denison created a

        contractual relationship with Clifford which included, but was not limited to, obligating

        Clifford to investigate and/or adjudicate Jane Doe’s allegations against John Doe pursuant

        to Denison’s Policies.

 205.   As detailed above, Clifford acted unlawfully and/or incompetently with regard to her

        obligation to investigate and/or adjudicate Jane Doe’s allegations against John Doe

        pursuant to Denison’s Policies.

 206.   As detailed above, John Doe put Denison on actual or constructive notice of Clifford’s

        unlawful and/or incompetent actions with regard to Clifford/Denison Contract or the

        Alleged CDC.

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 207.    As detailed above, Clifford’s unlawful and/or incompetent acts and/or omissions with

         regard to Clifford/Denison Contract or the Alleged CDC caused John Doe irreparable

         damages.

 208.    As detailed above, Denison’s negligence in hiring, retaining, training, and/or supervising

         of Clifford caused John Doe irreparable damages.

 WHEREFORE, regarding Count 11 John Doe demands judgment and relief against Denison as

 follows:

    A.      Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to

            compensate John Doe’s past and future pecuniary and/or non-pecuniary damages

            caused by Defendants’ conduct;

    B.      Order(s) requiring Denison expunge John Doe’s official Denison files of all

            information related to his interactions with Jane Doe;

    C.      Judgment for attorneys’ fees, pursuant any applicable statute;

    D.      Judgment for all other reasonable and customary costs and expenses that were incurred

            in pursuit of this action;

    E.      Pre-judgment interest and post judgment interest as may be permitted by law and

            statute; and/or

    F.      Such other and further relief as this court may deem just, proper, equitable, and

            appropriate.




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                                                     Respectfully Submitted,



                                                     /s/ Eric J. Rosenberg
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                                        JURY DEMAND

 John Doe hereby demands a trial by a jury in this matter.



                                                     /s/ Eric J. Rosenberg
                                                     Eric J. Rosenberg (0069958)




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                                CERTIFICATE OF SERVICE

        A copy of the foregoing was electronically filed with the Court and served via the CM/ECF
 system and/or U.S. mail and/or email upon the following on the 21st day of June 2016:

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